Case 1:16-cv-11864-DPW Document 18-3 Filed 12/14/16 Page 1 of 12

Patricia Szumowski
SL SL TI SS SS SS a SE

From: Matthew Shayefar <matt@bostonlawgroup.com>
Sent: Thursday, December 01, 2016 9:13 PM

To: pas@szumowskilaw.com

Cc: Evan@CFWLegal.com; Val Gurvits

Subject: J8U Sports Productions, Inc. v. Alex Matov et al
Attachments: Rule 11 Letter 12-1-16.pdf

Dear Attorney Szumowski,
Please find attached correspondence regarding the above referenced case.
Very truly yours,

Matthew Shayefar

Boston Law Group, PC

825 Beacon Street, Suite 20 | Newton Centre, MA 02459

Direct: (617) 928-1806 | Tel: (617) 928-1800 | Fax: (617) 928-1802
matt(@bostonlawgroup.com

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mail: info@bostonlawgroup.com

In compliance with [RS regulations, we advise you that any discussion of Federal tax issues is not intended or written to be used. and may not be used, by you to avoid any
penalties imposed under the Internal Revenue Code or to promote, market or recommend to another party any transaction or matter addressed.

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Case 1:16-cv-11864-DPW Document 18-3 Filed 12/14/16 Page 2 of 12

BOSTON LAW GROUP, PC
ATTORNEYS AT LAW

825 BEACON STREET, SUITE 20
Main (617) 928-1800 NEWTON CENTRE, MASSACHUSETTS 02459 Fax (617) 928-1802

Via First Class Mail and Email
December 1, 2016

Patricia A. Szumowski
Szumowski Law, P.C.

PO Box 2537

Amherst, Massachusetts 01004
pas@szumowskilaw.com

Re: J&J Sports Productions, Inc. v. Alex Matov et al
U.S.D.C. Mass Case No. 1:16-ev-11864-DPW

Dear Ms. Szumowski,

As you are aware, this law firm represents Mr. Alex Matov in connection with the above
referenced case filed by you on behalf of J&J Sports Productions, Inc (“J&J”) against Mr. Matov
and Oasis Community Center, Inc. (“Oasis”).

The purpose of this letter is to put you on notice of Mr. Matov’s intention to seek
sanctions against you and your client J&J under Federal Rule of Civil Procedure 11 and 28
U.S.C. § 1927, arising from your failure to properly conduct a pre-filing investigation of the facts
or law underlying the claims asserted in your complaint, see, e.g., Fed R.Civ.P. 11(b)(2) and (3),
as well as your request for notice of default against Oasis. Neither Oasis nor Mr. Matov were
ever proper defendants in this action, a fact which J&J could have ascertained had it exercised
the minimum amounts of care required under the law.

In accordance with Rule 11, Mr. Matov hereby provides you the opportunity to withdraw
the Complaint and the default against Oasis before he is forced to expend any additional monies
on the defense of this frivolous action. Mr. Matov has already suffered damages inasmuch as he
has been forced to expend legal fees in connection with your filing of the Complaint against him
and Oasis. As is noted below, we are giving J&J the opportunity to pay those amounts now
(along with the dismissal in full of this action) before the amounts become significantly larger.

The basis for this notice is as follows:

First, you have filed suit against the wrong corporate entity and, as a result, the wrong
individual associated with that corporate entity. Put simply, Oasis did not operate the “Oasis
Night Club” at 147 Jackson Street in Lawrence, Massachusetts referenced in the Complaint.
Instead, the Oasis that you named as a defendant in this action operated the Oasis Adult Day
Health Center and the Oasis Community Center at 120 Broadway in Lawrence, Massachusetts.

Case 1:16-cv-11864-DPW Document 18-3 Filed 12/14/16 Page 3 of 12

During the day, the space was used for an Adult Day Care Center. Although it is true that it also
had a community space that it would occasionally rent out for family events, at no time did it
present the Floyd Mayweather fight as referenced in the complaint nor would it have been a
proper venue for such an event.

To be clear, you have named the wrong defendants in this action. Had you engaged in
any reasonable review of the facts prior to filing the Complaint you would have seen that Oasis
had no operations at 147 Jackson Street and that Oasis was not operating under the name Oasis
Night Club and was not showing any fights. Again, Oasis was simply an operator of an adult
day care center at a different location than you allege the fight was broadcast. If you had done a
simple Google search of Oasis you would have discovered that it is not (and was not) the
operator of the Oasis Night Club.

Even had you named the correct corporate entity (which you did not), you would still
have had no legal basis for naming Mr. Matov as a defendant in the case. You have alleged no
factual basis for piercing the corporate veil against Mr. Matov. You have presented no factual
allegations other than legal conclusions that Mr. Matov was somehow involved in the alleged
showing of the fight at the (wrong) premises. You have, in fact, alleged no factual allegations
against Mr. Matov whatsoever other than your baseless and unsupported (and obviously untrue)
allegation that Mr. Matov somehow controlled Oasis Night Club.

In my telephone call with you on November 9, you claimed that Mr. Matov’s name was
on a liquor license. Oasis did not have a permanent liquor license at 120 Broadway (or in fact
any place else). Oasis, as an adult day care center and occasional space for community events,
did not even have a bar. While Oasis may have periodically received one-day licenses for
special events, if in fact Mr. Matov’s name was on any of these one-day licenses, it certainly
wasn’t for a location 147 Jackson Street. My understanding is that on the rare occasions that a
party at the community center called for the service of liquor, Oasis would set up a folding table
where it would place the bottles. In short, the Oasis that you named in this lawsuit was not the
location for the broadcast of the Mayweather fight and Mr. Matov was not involved even
indirectly.

Given that you filed the action on the day before the statute of limitations was to run, it is
clear that you rushed into filing the Complaint without engaging in any form of reasonable due
diligence in the matter. You found the wrong corporate entity, you mismatched the addresses
between the corporate entity and the location you allege the actionable offense occurred, and you
named an individual who would not have been personally liable even if you had named the
correct corporate entity. It is clear that you named Mr. Matov solely for the purposes of exerting
undue and improper pressure for a quick settlement rather than litigate the merits of this case
(which, it is clear after a proper investigation, were non-existent).

Furthermore, I emailed you about this issue on November 21, 2016 and you have wholly
ignored that email. I take all of this as further evidence of your failure to engage in proper due
diligence.

Case 1:16-cv-11864-DPW Document 18-3 Filed 12/14/16 Page 4 of 12

The Complaint is completely unfounded and has no evidentiary support, as you would
have been aware had you engaged in even a rudimentary ~ and required — pre-filing
investigation. See Lancellotti v. Fay, 909 F.2d 15, 18-19 (1st Cir. 1990) (Rule 11 “has rather
consistently been read by federal appellate courts to reach groundless but ‘sincere’ pleadings, as
well as those which, while not devoid of all merit, were filed for some malign purpose.”); Chien
v. Skystar Vio Pharmaceutical Co., 256 F.R.D. 67, 73 (D. Conn. 2009) (sanctioning attorney (in
addition to his client) for filing a frivolous complaint, which was filed in good faith but without
proper investigation into the legal and factual underpinnings of the claims).

As a result of your improper actions, Mr. Matov has incurred almost $10,000 in legal fees
and expenses. We therefore demand that you immediately dismiss the Complaint against both
Mr. Matov and Oasis with prejudice and reimburse Mr. Matov for the damages caused him as a
result of your filing of this frivolous action. If you fail to dismiss the action and reimburse Mr.
Matov’s damages, Mr. Matov will seek sanctions pursuant to Rule 11 and 28 U.S.C. § 1927 and
will also vigorously pursue all available remedies he may have in this or another forum once this
baseless litigation is concluded.

I await your immediate written response to these demands.

This letter is not intended to constitute, nor shall it be deemed to constitute, a full
statement of all facts, rights or claims relating to this matter, nor is it intended, nor shall it be
construed as, a waiver, release or relinquishment of any defenses, rights or remedies available to

my client, whether legal or equitable, all of which are hereby expressly reserved.

Very Truly Yours,

Matthew Slayefar, Esq.

Case 1:16-cv-11864-DPW Document 18-3 Filed 12/14/16 Page 5 of 12

Patricia Szumowski

ae ee eS
From: Patricia Szumowski <pas@szumowskilaw.com>
Sent: Friday, December 02, 2016 5:17 PM
To: "Matthew Shayefar'
Subject: J&J Sports Productions v. Matov, et al
Attorney Shayefar,

This email is further to our conversation this afternoon following your December 1, 2016 letter emailed to me
at 9:30 p.m. last night. It is unfortunate that you chose not to return my call from earlier yesterday seeking to discuss
your November 21, 2016 email and instead sent your letter hours later. While | disagree with characterizations and
alleged facts and law stated in your letter, | indicated during our call that | sought to immediately address the pendency
of the action and your demands.

This will confirm that | offered to dismiss the Complaint today in its entirety, with prejudice. This would be
pursuant to stipulation since Mr. Matov has appeared and you seem to now be representing the Oasis corporation as
well. Vacating the Oasis default does not seem necessary with dismissal but if desired | will request such as well. While |
dispute that your fees could be near the $10,000 demanded in your letter, | offered to pay Mr. Matov’s reasonable
attorney’s fees actually incurred in the 2 months of this action and requested your bill for services, and a signed release.

| look forward to hearing from you.

Patricia A. Stumowski
SZUMOWSKI LAW, PC

Office & Overnight Delivery:
417 West Street, Ste. 104
Amherst, MA 01002

Mailing Address:
PO Box 2537

Amherst, MA 01004

Telephone (413) 835-0956
Facsimile (866) 242-2902
pas@szumowskilaw.com

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Case 1:16-cv-11864-DPW Document 18-3 Filed 12/14/16 Page 6 of 12

Patricia Szumowski

=e an Rea zane a
From: Patricia Szumowski <pas@szumowskilaw.com>

Sent: Tuesday, December 06, 2016 1:27 PM

To: "Matthew Shayefar’

Subject: J&J Sports Productions v Matov

Attachments: Stipulation.Dismissal.Prejudice.pdf

Importance: High

Attorney Shayefar,

Although | have not heard back from you following our telephone call and my email last Friday, | have drafted
the attached stipulation of dismissal. Please review same and let me know if | have your approval to file same with the
Court.

As previously requested, please send me a copy of your bill.

Patricia A. Szumowski
SZUMOWSKI LAW, PC

Office & Overnight Delivery:
417 West Street, Ste. 104
Amherst, MA 01002

Mailing Address:
PO Box 2537
Amherst, MA 01004

Telephone (413) 835-0956
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pas@szumowskilaw.com

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Case 1:16-cv-11864-DPW Document 18-3 Filed 12/14/16 Page 7 of 12

UNITED STATES DISTRICT COURT
FoR THE DISTRICT OF MASSACHUSETTS

J & JSPORTS PRODUCTIONS, INC., Case No. 1:16-cv-11864-DPW
Plaintiff,
Vv. STIPULATION OF DISMISSAL
WITH PREJUDICE
ALEX MATOV, and OASIS COMMUNITY
CENTER, INC,
Defendants.

NOW COME the parties in above-captioned action, by and through the undersigned counsel
and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), and hereby stipulate that the Complaint is dismissed in

its entirety with prejudice and without costs to any party.
Dated: December 6, 2016 Plaintiff J & J SPORTS PRODUCTIONS, INC.

By:_/s/ Patricia A. Szumowski

PATRICIA A. SZUMOWSKI BBO #653839
Attorney for Plaintiff

SZUMOWSKI LAW, P.C.

417 West St., Ste. 104

P.O. Box 2537

Amherst, MA 01004

Telephone: (413) 835-0956
pas@szumowskilaw.com

Defendants ALEX MATOV and
OASIS COMMUNITY CENTER, INC.
By:_/s/ Matthew Shayefar

Matthew Shayefar, BBO# 685927
BOSTON LAW GROUP, INC.

825 Beacon St., Ste. 20

Newton Centre, MA 02459

Telephone: (617) 928-1806

Facsimile: (617) 928-1802
matt(@bostonlawgroup.com

Case 1:16-cv-11864-DPW Document 18-3 Filed 12/14/16 Page 8 of 12

CERTIFICATE OF SERVICE

[hereby certify that this document filed through the ECF system will be sent electronically to the registered participants as
identified on the Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants on the NEF.

Dated December 6, 2016 /s/ Patricia A. Szumowski
Patricia A. Szumowski

Case 1:16-cv-11864-DPW Document 18-3 Filed 12/14/16 Page 9 of 12

Patricia Szumowski
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ETCETERA ae a
From: Matthew Shayefar <matt@bostonlawgroup.com>
Sent: Tuesday, December 06, 2016 3:47 PM
To: Patricia Szumowski
Ce: Val Gurvits; Evan@CFWLegal.com
Subject: RE: J8U Sports Productions v Matov
Attachments: Invoicel4855.pdf

Dear Attorney Szumowski,

Please find attached a copy of the bill as requested. I will review the stipulation after you confirm payment on
the bill.

Please keep copied on all communications Attorneys Gurvits and Fray-Witzer (copied here).
Thank you,

Matthew Shayefar

Boston Law Group, PC

825 Beacon Street, Suite 20 | Newton Centre, MA 02459

Direct: (617) 928-1806 | Tel: (617) 928-1800 | Fax: (617) 928-1802
matt(@bostonlawgroup.com

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penalties imposed under the Internal Revenue Code or to promote, market or recommend to another party any transaction or matter addressed.

From: Patricia Szumowski [mailto:pas@szumowskilaw.com]
Sent: Tuesday, December 06, 2016 10:27 AM

To: Matthew Shayefar <matt@bostonlawgroup.com>
Subject: J&J Sports Productions v Matov

Importance: High

Attorney Shayefar,

Although | have not heard back from you following our telephone call and my email last Friday, | have drafted
the attached stipulation of dismissal. Please review same and let me know if | have your approval to file same with the
Court.

As previously requested, please send me a copy of your bill.

Patricia A. Stumowski
SZUMOWSKI LAW, PC

Office & Overnight Delivery:
417 West Street, Ste. 104
Amherst, MA 01002

Mailing Address:
PO Box 2537
Amherst, MA 01004

: ExwiBir P

Case 1:16-cv-11864-DPW Document 18-3 Filed 12/14/16 Page 10 of 12

Boston Law Group, LLP
825 Beacon Street

Suite 20
Newton Centre, MA
02459
Alex Matov Date: 12/6/2016
1094 Walnut St. File Number: 1537/028
Newton MA 02461 Invoice Number: 14855
United States of America
Re: Matov v JJ
Date Initials Description of Service Hours Amount
09/14/2016 VG Review lawsuit; review applicable law; conference with client 4.50 2,025.00
regarding background and regarding possible damages.
10/09/2016 MS Drafting answer to complaint 1.00 350.00
10/14/2016 MS Review docket and scheduling 0.25 87.50
10/19/2016 EFW Reviewing complaint; calls with Matt; emails with 1.00 450.00
Matt and Val
10/20/2016 MS Call w client re case; finalize and file complaint 0.75 262.50
10/20/2016 EFW Redlining answer to complaint; emails with Alex 2.50 1,125.00
Matov; emails with Matt; emails with Val
10/20/2016 VG Review answer, office conference re: same. 0.75 262.50
10/31/2016 MS Attn to court order and calendaring deadlines 0.25 87.50
11/09/2016 MS Call w Plaintiffs counsel; email to client re same 0.25 87.50
11/10/2016 EFW Factual investigation re: Oasis Night Club; 1.50 675.00
conference call with Alex Matov
11/10/2016 VG Legal research regarding personal liability of liquor license 2.50 1,125.00
holder for corporate acts and piercing corporate veil.
11/10/2016 MS Office conference w Evan re multiple issues; conference call w 0.75 262.50
client
11/21/2016 EFW Calls with Chrissie; emails with Matt; additional 2.00 900.00

factual research concerning club location and
community center location; calls with Matt and

Val
11/21/2016 VG Conf. with client. 0.50 225.00
11/21/2016 MS Office conferences and emails; research on attorney's fees 0.75 262.50
provisions
11/23/2016 MS ae conference re status; email to opp counsel re meet and 0.25 87.50
confer
11/30/2016 MS Drafting Rule 11 letter 1.25 437.50
12/01/2016 MS Attn to Rule 11 Letter 0.50 175.00
12/01/2016 EFW Editing and redlining Rule 11 letter 0.50 225.00
12/02/2016 MS Call w Plaintiffs atty re Rule 11 Letter 0.25 87.50
Total Fees 22.00 $9,200.00

TOTAL NEW CHARGES $9,200.00

Case Le peaey Ate DPW Document 18-3 Filed 12/14/16 Page 11 of 12
153

12/6/2016 Alex Matov Page:2
STATEMENT OF ACCOUNT
Current Fees 9,200.00
AMOUNT DUE AND OWING TO DATE $9,200.00
PER:

Val Gurvits

Case 1:16-cv-11864-DPW Document 18-3 Filed 12/14/16 Page 12 of 12

Patricia Szumowski
‘CES

ae SE SET Te eee TS
From: Val Gurvits <vgurvits@bostonlawgroup.com>
Sent: Friday, December 09, 2016 11:04 AM
To: Matthew Shayefar; Patricia Szumowski
Ce: Evan@CFWLegal.com
Subject: RE: J8U Sports Productions v Matov
Attachments: 148 - Motion for Attorney's Fees. pdf

Dear Attorney Szumovski,

| write to follow up on the telephone conversation you had with Attorney Shayefar. Please direct any future
communications to me.

We will be filing a Motion for Sanctions and Legal Fees under Rule 11. The basis of this Motion is outlined in our Rule 11
letter.

You initially indicated that you will pay Mr. Matov’s legal fees. Today you indicated that you changed your mind. Asa
professional courtesy, | urge you to reconsider your refusal — putting aside your erroneous claim against the corporate
entity, there was absolutely no basis in law or in fact for having named Mr. Matov personally. Attorney Shayefar tried to
address this issue over the phone with you at the commencement of this action.

Given that you brought a lawsuit against our client which (if it was meritorious) could potentially result in over $100,000
of damages, we took your complaint very seriously. The defense costs incurred are legitimate and defensible. As an
example, please see the attached motion for legal fees for well over $160,000 which we filed recently in a copyright case
in Miami.

In light of the clear ignorance of both law and fact in the present action, | think the Court will agree that plaintiff should
pay Mr. Matov’s defense costs.

Thank you for your attention to the foregoing.

Val Gurvits

Boston Law Group, PC

825 Beacon Street, Suite 20
Newton Centre, MA 02459
(617) 928-1804 direct

(617) 928-1800 main

(617) 928-1802 fax

vgurvits@bostonlawgroup.com

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